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IN THE UNITEI) STATES BANKRUPTCY COURT mm 5 g gm gr~§
FOR THE WESTERN I)ISTRICT OF OKLAHOMA v `:M, :," _;.
In re: ALEXANI)ER LOUIS BEI)NAR, Case Nllmber: 15-11916 TWS UCT 25 p 2; 58
Chapter 7
Debtor.
Alexander L. Bednar Adv. Proc. N0:18-6l09é " '
Plaintiff

V

Franklin American Mortgage Company
Federal National Mortgage Association
Oklahoma County Sheriff

Defendants

And

Alexander Bednar
v

R`cB
AFFIDAVIT IN SUPPORT OF SHORTENING TIME AND NOTICE PERIODS
On this date appeared Alexander Bednar, Debtor, pursuant to Local Rule 9007-1(E), and swore
to the information below as true and accurate to the best of his recollection.

l. Mr. Bednar respectfully states that the reasons sought in the Request for Expedited Hearing
and Brief in support are accurate and reflect a plea for justice as he has extremely limited
means at this time, and has had to battle Defendants and their zealous litigation which was
known by Defendants to infringe upon the settlement from mediation ordered by this Court.

2. At this time, Mr. Bednar states he has been forced out of the homestead by Defendant
Sheriff, (who has allowed for inappropriate “credit on judgment” amounts and other

documents to be filed in violation of the law and without due process). Mr. Bednar is being

kept from his home office where he has his work space, files, and cabinets.

lO.

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Mr. Bednar has a young daughter which he has custody of half the time, and the child has
never known any other home with her father; she witnessed Defendant threatening that she
will lose all her toys, dolls and belongings and has been traumatized.

Defendants’ actions in concert with RCB state Attorney Kyle Goodwin do not reflect the
professional courtesy and thoughtful actions of Scott Kirtley, RCB’s bankruptcy court
attorney, who has offered to help finalize the settlement process with Mr. Bednar, who
attempted to help sell an extra lot to the property for the benefit of Franklin American, and
who has admitted that no proper deed has ever been issued yet to Mr. Bednar.

Hence, RCB’s attorney in this Court admits to the fact the settlement agreement has not
been finalized with Debtor Mr. Bednar.

Fannie Mae’s agent has indicated that all belongings in the house will be converted as of
start of day on November 5 , 2018.

F annie Mae has provided one extension through its agent (from October 2(), 2018 to
November 4, 2018), who has only allowed Debtor into the homestead twice this week.
Debtor Mr. Bednar does not have the current means to pay for movers and has been
prevented from meaningfully being able to earn a living, and from adequately defending
himself, or from being able to secure goods from the premises. Debtor has been prevented
from achieving any of the equity in the property, a goal sought through the mediation.

To date, the settlement directives from the mediation agreement with RCB Bank have not
occurred, and Mr. Bednar has not received benefits of the bargain.

Debtor is at risk of having to figure out basic survival and is at the mercy of friends to
provide housing at this time, due to calculated actions of Defendants to knowingly frustrate

the settlement process ordered by this Court.

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l 1. Mr. Bednar has received good faith offers regarding an extra lot to the property, which, if
sold during the mediation as attempted, would have brought down the principal, and
provided for two (2) years of mortgage payments, while allowing your Debtor to rebuild his
life - in the alternative, the house could have been put on the market to capture equity.

12. ln lieu of working through the mediation process, Defendant Franklin American chose to
take zealous litigation action to purposefully frustrate Debtor’s settlement, including
misleading statements, some of which are built upon RCB State attorney Kyle Goodwin’s
inappropriate and false “Disclaimer” filed on April 20, 2018 in state case CJ-2016-5004.

13. Debtor requests that this Court shorten the usual time during which parties at interest may
object to Debtor’s Request for Expedited Hearing and Shortened Response Time Regarding
lnjunction Pending Hearing on Merits, and enter an Order setting a hearing and response
time on the limited issues presented (involving Defendants’ acts to frustrate and/or prevent
enforcement of the mediation agreement reached). Hence, Debtor is asking to Shorten the
usual notice period to prevent an injustice.

14. Debtor humbly requests such relief as a plea for justice and basic human needs and to

enforce the agreement that was reached through this Court’s Order for mediation.

THIS l SWEAR TO THE BEST OF MY ABILITY

Alexander Bednar (Debtor)
NOTARY ATTESTATION

On this date October 25, 2018, appeared Alexander Bednar, who presented proper ID and who
swore that the§inf,o,ri;,iation in referenced pleadings is true and accurate, and that his request for relief
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CERTIFICATE OF SERVICE

Undersigned Debtor certifies that on 10-25-2018 the foregoing document was served,
via United States Mail, lSt class postage pre-paid, and properly addressed to the

following:

Oklahoma County District Attorney
C/0 ROd Heggy

320 Robert S Kerr

County Building, 5th Floor

Oklahoma City OK 73102

Attorney for Oklahoma County Sheriff

Franklin American Mortgage
Corporation Company / Agent of Service
1833 South Morgan Road

Oklahoma City OK 73128

Scott Kirtley, Esq
Riggs Abney Law F irm
502 W. 6th Street
Tulsa, OK 74119-1010

Don Timberlake

PO Box 18486

Oklahoma City, OK 73154-0486
Attorney for Franklin American
and F annie Mae in state court

Federal National Mortgage Assoc.
a/k/a Fannie Mae

3900 Wisconsin Ave.
Washington, D.C. 20016

RCB Bank

300 W. Patti Page
Claremore, OK 74017

s/

 

Alexzmder Louis Bednar / Debtor

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Edmond OK 73013
Bednarconsult@gmail.com

405 420 9030

Please note that the address above is where
Debtor is able to receive mail at this time

